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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
COMMONWEALTH OF VIRGINIA

Vv. Criminal Case No. 1:21CR91
ALEJANDRO AMAYA,

Defendant.

MEMORANDUM OPINION

THIS MATTER comes before the Court on Defendant Alejandro
Amaya’s (“Officer Amaya”) Motion to Dismiss Indictment (Criminal
No. 1:21CR91, Dkt. No. 8), under Federal Rule of Criminal
Procedure 12(b) (1).

On the evening of November 17, 2017, around 7:20 p.m., 25-
year-old Bijan Ghaisar, driving a Jeep Grand Cherokee with the
license plate “BIJAN,” was rear-ended by a Toyota Corolla while
traveling just north of Slater’s Lane along the George
Washington Parkway in Washington, D.C. Ghaisar immediately fled
the scene of the accident and drove toward Alexandria, Virginia.
The Corolla’s passenger called 911 and reported the hit and run.

Alejandro Amaya and Lucas Vinyard (“the officers”) are
United States Park police officers with the United States Park

Police Department who were patrolling the George Washington
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Memorial Parkway. The United States Park Police are law
enforcement officers within the United States Department of
Interior and the George Washington Memorial Parkway is federal
parkland where its officers have jurisdiction to enforce the
laws of the United States. After the hit and run, the officers
were instructed by dispatch to pursue Ghaisar while the officers
were on patrol together in the Old Town Section of Alexandria in
the same marked police vehicle. The dispatcher initially
informed the officers that Ghaisar’s Jeep was the striking
vehicle, but soon corrected the information to clarify that
Ghaisar was driving the vehicle that had been struck.

The officers encountered Ghaisar on Washington Street
around 7:34 p.m., activated their lights and sirens, and began
pursuing Ghaisar. During this time and throughout the subsequent
pursuit, the officers continually informed their command by
relaying information through radio. None of the officers’
superiors instructed the officers to terminate the pursuit at
any point. Ghaisar failed to pull over and continued speeding
down Washington Street toward the Parkway. When the officers
eventually pulled alongside Ghaisar around Belle Haven Road, the
officers observed Ghaisar behind the wheel with no visible
passengers. Ghaisar did not acknowledge the officers, despite
the officers’ lights, sirens, and verbal commands. At one point,

Ghaisar crossed over double yellow lines into oncoming traffic,

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nearly causing a collision. Based on the officer's experience
dealing with impaired drivers, both officers believed Ghaisar
was under the influence of drugs or alcohol and a danger on the
road.

Because of Ghaisar’s dangerous driving behavior and refusal
to pull over, the officers requested and received assistance
from the Fairfax County Police Department to help with the
pursuit. An assisting Fairfax County Police Officer recorded the
ensuing chase through his dash camera. Officer Vinyard
eventually pulled alongside Ghaisar around Tulane Drive in the
Belle Haven area while another car was stopped in front of
Ghaisar. Officer Amaya exited the patrol vehicle and approached
Ghaisar with his gun drawn, commanding Ghaisar to exit the Jeep.
Instead, Ghaisar placed his hands over his face when the
officers pulled up next to him. Officer Amaya attempted to open
Ghaisar’s door to arrest him, realized the door was locked, and
ordered Ghaisar to open the door. Ghaisar then took off in the
Jeep while Officer Amaya’s hand remained on Ghaisar’s door
handle. As Ghaisar pulled away, he again crossed over the double
yellow line into oncoming traffic. Believing the situation to be
dangerous, the Fairfax County officer requested the assistance
of the police helicopter.

After pursuit, Officer Vinyard again pulled Ghaisar over in

a residential neighborhood off the Parkway. Again, Officer Amaya
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exited his vehicle with his firearm drawn, yelling commands at
Ghaisar. Again, Ghaisar placed his hands over his face and took
off when Officer Amaya attempted to open Ghaisar’s door. Ghaisar
then sped through a neighborhood and failed to stop at a stop
sign.

The officers continued pursuing Ghaisar. Eventually, the
officers pulled over and stopped Ghaisar at the intersection of
Fort Hunt Road and Alexandria Avenue. Officer Vinyard positioned
the patrol car perpendicular to Ghaisar’s Jeep. The officers
exited the patrol car with drawn firearms while Ghaisar placed
his hands over his face. Officer Vinyard positioned himself to
the left of Ghaisar’s driver-side window. Officer Amaya
positioned himself in between the patrol car and the front of
Ghaisar’s Jeep while shouting commands to Ghaisar. As Officer
Amaya stood between the two cars, Ghaisar’s Jeep lurched forward
toward Officer Amaya. Fearing for his life, Officer Amaya then
fired his weapon through the Jeep’s windshield at Ghaisar. The
Jeep initially stopped but then moved forward again, causing
both officers to fire at Ghaisar. The Jeep then rolled over into
a ditch.

The Federal Bureau of Investigation investigated the
shooting at the request of the United States Park Police Chief.
Ultimately, the Department of Justice declined to prosecute the

officers under 18 U.S.C. § 242 because the Department concluded

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there was “insufficient evidence to establish beyond a
reasonable doubt that the officers willfully committed a
violation of 18 U.S.C. § 242.”

On October 15, 2020, a Fairfax special grand jury returned
indictments against both officers on two state criminal counts:
(a) involuntary manslaughter for “feloniously kill[ing] and
slay[ing]” Ghaisar in violation of Virginia Code § 18.2-36; and
reckless discharge of a firearm in violation of Virginia code §
18.2-56.1. In November 2020, the officers each filed a notice of
removal under 28 U.S.C. § § 1442 and 1455. This Court accepted
jurisdiction on April 23, 2021. Both defendants now move to
dismiss the indictments against them based on Supremacy Clause
immunity.

Both officers raise their Supremacy Clause immunity defense
through motions to dismiss the indictment under Federal Rule of
Criminal Procedure 12(b) (1). This provision protects the
officers from the requirement to defend a case on the merits if
the officers: (1) were authorized by federal law to act as they
did, and (2) the officers did no more than was necessary and

proper. Cunningham v. Neagle, 135 U.S. 1, 75 (1890). The

 

Supremacy Clause can protect a federal officer from state
prosecutions. Baker v. Grice, 169 U.S. 284, 291 (1898).
The Court finds that the officers acted in accordance with

federal law. Both officers were United States Park Police
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Officers who were on duty, in uniform, and patrolling within
their jurisdiction in a marked United States Park Police patrol
car. The officers’ duties included responding to crimes, traffic
violations, and accidents that occurred along the George
Washington Parkway and pursuing violators in adjoining
jurisdictions. The officers performed their duties as expected
when they responded to the hit and run call and pursued Ghaisar.
The officers’ actions were necessary and proper. The
totality of the foregoing circumstances reasonably invoked the
officers’ belief that Ghaisar’s actions placed Officer Amaya’s
life in imminent, life-threatening danger. This belief was
reasonable considering the circumstances on November 17, 2017.
The officers enlisted the assistance of the Fairfax County
Police Department and employed several efforts to pull Ghaisar
over, which ultimately resulted in Ghaisar placing the officers
in a life-or-death situation. The officers were instructed to
pursue Ghaisar by their command, were in constant contact with
their superiors throughout the evening, and were never
instructed to abandon the pursuit. Ghaisar appeared intoxicated
while continually engaging in extremely reckless behavior and
unusual driving. Ghaisar crossed over the double yellow line
multiple times, willfully ignored the officers’ several commands
to stop and pull over, sped through a residential neighborhood,

failed to stop at a stop sign, and repeatedly drove away while

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Officer Amaya’s hand was placed on Ghaisar’s door handle.
Ghaisar’s actions clearly demonstrated his intent to continue
evading the officers, further imperiling them. Considering the
circumstances, the officers were reasonable to fear for Officer
Amaya’s life and discharge their weapons when Ghaisar’s Jeep
lurched forward while Officer Amaya was standing in front of
Ghaisar’s vehicle. The officers’ decision to discharge their
firearms was necessary and proper under the circumstances and
there is no evidence that the officers acted with malice,
criminal intent, or any improper motivation.

For these reasons, the Court finds that Defendant Officer
Amaya is entitled to Supremacy Clause immunity, and the charges
against him should be dismissed.

An appropriate order shall issue.

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
October 22, 2021
